86 F.3d 1160
    NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that they are not precedent and generally should not be cited unless relevant to establishing the doctrines of res judicata, collateral estoppel, the law of the case, or if the opinion has persuasive value on a material issue and no published opinion would serve as well.UNITED STATES of America, Appellee,v.Charles F. WHITE, Appellant.
    No. 96-1103WM.
    United States Court of Appeals, Eighth Circuit.
    Submitted May 24, 1996.Filed June 4, 1996.
    
      Before FAGG, BOWMAN, and HANSEN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Charles F. White appeals the district court's order denying his 18 U.S.C. § 3582(c)(2) motion to reduce his sentence.   Because White filed his notice of appeal more than ten days after entry of the order, we lack jurisdiction to review the merits of his appeal.   See Fed.  R.App. P. 4(b) (affording criminal defendants ten days after entry of judgment or order to file notice of appeal;  district court may grant thirty-day extension upon showing of excusable neglect);  United States v. Petty, No. 96-1315, slip op. at 2 (8th Cir.  May 6, 1996) (Rule 4(b) applies to appeals from denial of § 3582(c)(2) motions;  timely notice of appeal is both mandatory and jurisdictional).
    
    
      2
      Accordingly, we dismiss this appeal.   See 8th Cir.  R. 47A(a).
    
    